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4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5                                      AT TACOMA

6    DARREN LEE SMITH,
                                                          Case No. C20-5914 RSL
7                             Plaintiff,
            v.                                            ORDER GRANTING
8                                                         APPLICATION TO PROCEED IN
     DSHS BOARD OF APPEALS,                               FORMA PAUPERIS
9
                              Defendants.
10

11          This matter comes before the Court on plaintiff’s application to proceed in forma

12   pauperis. Dkt. 1. Plaintiff’s application to proceed in forma pauperis is GRANTED

13   pursuant to 28 U.S.C. § 1915(a)(1) because plaintiff does not appear to have the funds

14   available to afford the $400.00 Court filing fee. However, the undersigned recommends

15   review under 28 U.S.C. § 1915(e)(2)(B). The Clerk of the Court is directed to send a

16   copy of this Order to plaintiff and to the assigned District Judge.

17          Dated this 20th day of October, 2020.

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20                                                     A
                                                       Theresa L. Fricke
21                                                     United States Magistrate Judge

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     ORDER GRANTING APPLICATION TO PROCEED IN
26   FORMA PAUPERIS - 1
